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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
 RAYMOND NEGRON,                                                  :
                                                                  :
                                           Plaintiff,             :
                                                                      Case No.
                                                                  :
                    v.                                            :
                                                                  :
                                                                      NOTICE OF REMOVAL
 TD BANK N.A. and EXPERIAN INFORMATION :
 SOLUTIONS, INC.,                                                 :
                                                                  :
                                           Defendants             :
----------------------------------------------------------------x

          PLEASE TAKE NOTICE that Defendant TD Bank N.A. (“TD Bank”), by its attorneys,

Duane Morris LLP, hereby removes this action from the Supreme Court of the State of New York,

County of Queens, to the United States District Court for the Eastern District of New York,

pursuant to 28 U.S.C. §§ 1331, 1367(a), 1391, 1441, 1446, and states as follows:

                                               BACKGROUND

          1.      On August 8, 2024, Plaintiff Raymond Negron (“Plaintiff”) filed a Complaint in

the State Action against Defendant TD Bank and Defendant Experian Information Solutions, Inc

(“Experian”), captioned Raymond Negron v. TD Bank, N.A. and Experian Information Solutions,

Inc., Index No. 716281/2024 (the “State Action”).

          2.      A true and correct copy of the Summons and Complaint (the “Complaint”) is

attached hereto as Exhibit A.

                                      TIMELINESS OF REMOVAL

          3.      Plaintiff served the Complaint on TD Bank on August 9, 2024.

          4.      This Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b) because it has

been filed within thirty (30) days of TD Bank’s receipt of the Complaint.




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          5.     Defendant Experian has consented to removal of the State Action as required by 28

U.S.C. § 1446(b)(2)(A).

                            FEDERAL QUESTION JURISDICTION

          6.     Removal is proper pursuant to 28 U.S.C. §§ 1331 and 1441 because Plaintiff’s case

against TD Bank arises under federal law. See 28 U.S.C. § 1331 (“The district courts shall have

original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the United

States.”).

          7.     Plaintiff’s Complaint alleges TD Bank failed to adhere to the Fair Credit Reporting

Act (“FCRA”), 15 U.S.C. § 1681, et seq. See Ex. A, Compl. ¶¶ 31-33.

                               SUPPLEMENTAL JURISDICTION

          8.     This Court has supplemental jurisdiction over Plaintiff’s state-law claims because

Plaintiff’s New York Fair Credit Reporting Act claim arises out of the same transactions or

occurrences as the federal cause of action and, therefore, the state claims are “so related” to

Plaintiff’s federal claim “that they form part of the same case or controversy under Article III of

the United States Constitution.” 28 U.S.C. § 1367(a). See Ex. A, Compl. at p. 9

                                                VENUE

          9.     In accordance with 28 U.S.C. § 1391, venue is proper because the Complaint was

originally filed in the Supreme Court of the State of New York, County of Queens. The United

States District Court for the Eastern District in New York is the appropriate district having

jurisdiction over the place where the State Action was commenced. See 28 U.S.C. § 112.




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         ALL PROCEDURAL PREREQUISITES TO REMOVAL HAVE BEEN MET

          10.    TD Bank will promptly file a copy of this Notice of Removal with the Clerk of the

Supreme Court of the State of New York, County of Queens, which will be served on all parties

pursuant to 28 U.S.C. § 1446(d).

          11.    Pursuant to 28 U.S.C. § 1446(a), TD Bank attaches all process, pleadings and

orders that have been filed, served or received by TD Bank in this action.

          12.    By virtue of this Notice of Removal of Action and the Notice filed in the State

Action, TD Bank does not waive its rights to assert any personal jurisdictional defenses or other

motions including Rule 12 motions and/or motions to compel arbitration as permitted by the

Federal Rules of Civil Procedure.

          13.    Based upon the record submitted with this Notice, this Court has jurisdiction over

Plaintiff’s claims and the Complaint is properly removed to this Court.

                                          CONCLUSION

          WHEREFORE, TD Bank removes this action to this Court and respectfully requests that

this Court assume jurisdiction of this matter and take all further steps as may be required to

determine this controversy.


Dated: New York, New York
       September 6, 2024                       DUANE MORRIS LLP


                                               By: /s/ Y. Katie Wang
                                               Y. Katie Wang
                                               230 Park Avenue, Suite 1130
                                               New York, NY 10169-0079
                                               Email: Kwang@duanemorris.com

                                               Attorney for Defendant TD Bank N.A.




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To:      Schyler Cothias, Esq.
         30 Wall Street, 8th Fl. #741
         New York, New York 10005
         Tel: (866) 249-1137
         Email: Schyler.C@gitmeidlaw.com

          Attorneys for Plaintiff Raymond Negron

          Attn: Law Department
          Experian Information Solutions, Inc.
          475 Anton Blvd
          Costa Mesa, CA 92626

          Defendant




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